                       Case 18-19121-RBR           Doc 117       Filed 08/28/18       Page 1 of 4




        ORDERED in the Southern District of Florida on August 27, 2018.




                                                                     Raymond B. Ray, Judge
                                                                     United States Bankruptcy Court
_____________________________________________________________________________


                                    UNITTEDSTATESBANKRUPTCYCOURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION


          In re:                                              Case No. 18-19121-RBR
                                                              Chapter 11
                                                              Judge: RAYMOND B. RAY
          1 GLOBAL CAPITAL LLC

                                 Debtor(s).
          ______________________________!

                               ORDER ADMITTING ATTORNEY PRO HAC VICE

                   This matter came before the court without a hearing on the Motion to Appear Pro Hac Vice
          [ECF # 100]. The Court having reviewed the motion and good cause appearing, it is ORDERED
          that Alan C. Hochheiser ("Visiting Attorney"), may appear before this court pro hac vice as
          counsel for Collins Asset Group, LLC (the "Creditor") in this case and in each adversary
          proceeding in this case where Visiting Attorney appears on behalf of the Creditor, subject to the
          local rules of this court. Visiting Attorney shall include the certification required by Local Rule
          9011-4(B)(2) in all papers filed with this Court.
                   Visiting Attorney may apply to become a registered user CMIECF in this district with full
          filing privileges in this case and in any other case in which this court has entered an order admitting
          Visiting Attorney pro hac vice.
                Case 18-19121-RBR            Doc 117      Filed 08/28/18       Page 2 of 4




           Christopher P. Hahn ("Local Attorney") is designated as the attorney qualified to practice
    in this court with whom the court and other counsel may readily communicate and upon whom
    papers may be served:


                                              Charles P. Hahn, Esq.
                                             Maurice Wutscher LLP
                                        110 E. Broward Blvd. Suite 1700
                                           Fort Lauderdale, FL 333031
                                      Tel. 772-237-3410 Fax. 866-581-9302
                                          chahn@mauricewutscher.com
                                               Fla. Bar. No. 87577

           Local Attorney shall act as the local attorney as required by Local Rule 2090-l(B)(2) in
    this case and in each adversary proceeding in this case in which the Visiting Attorney appears on
    behalf of the Creditor. If Local Attorney declines to serve as the local attorney in any such
    adversary proceeding, a separate local attorney must file an additional Motion to Appear Pro Hac
    Vice, and absent such separate motion and an order of this court approving the same Local Attorney
    will continue to act s local attorney for the Creditor in all such proceedings.
                                                        ###


    Submitted by:
    Christopher P. Hahn, Esq.
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    110 E. Broward Blvd., Suite 1700
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    Fla. Bar No. 87577
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    COPIES TO:
    Alan C. Hochheiser, Esq.
    Christopher P. Hahn, who shall serve a copy of this order on the United States Trustee, all parties
    who have filed appearances in this case, and all parties who have appeared in each applicable
    adversary proceeding, and shall file a certificate of service thereof.




1
            Case 18-19121-RBR           Doc 117      Filed 08/28/18     Page 3 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 27, 2018, a copy of the foregoing document was served on
all interested parties via CMIECF to the following parties:

 Mark D. Bloom, Esq.                              John R. Dodd, Esq.
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 c/o Kristopher E. Pearson, Esq.                   c/o John V Del Gaudio, Jr., Esq.
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                     Case 18-19121-RBR            Doc 117    Filed 08/28/18       Page 4 of 4




         Andrew Washor
         c/o Jeffrey R. Sonn, Esq.
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         Ft. Lauderdale, FL 33394

         and on the following via first class mail:
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          Commonwealth of Pennsylania
                                                            Epiq Bankruptcy Solutions, LLC
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                                                        Is/ Christopher P. Hahn



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